
Bookstaver, J.
This action is brought to recover damages from an' expressman for failure to deliver a sewing machine. Plaintiff sent the machine to one Balliard, who was to receive it as her agent at his office address, No. 1300 Broadway. Balliard gave the bill of lading to defendant’s driver. Defendant brought the machine to 1300 Broadway, carried it up to the door of Balliard’s. office, and found the door locked. On the door was a notice directing that articles for Balliard should be delivered to the janitress. -It appears that defendant went up to Balliard’s office, and then returned and carried the machine upstairs. On his way back with the machine he met the janitress, who asked, “ What have you got?” to which he answered, “A machine box for Mr. Balliard.” She then asked if that was all he had, and he replied “Yes,” and went away. The machine was subsequently stolen by parties unknown. We think the defendant delivered the machine in accordance with the directions given him, and his liability thereupon ceased. There was only a question of fact to be determined. The justice decided in favor of defendant, and we think the evidence fully sustains his finding. No error of law affecting the verdict was argued. The judgment is therefore affirmed, with costs.
